4:16-bk-12201 Doc#: 242 Filed: 02/20/19 Entered: 02/20/19 15:27:53 Page 1 of 5
4:16-bk-12201 Doc#: 242 Filed: 02/20/19 Entered: 02/20/19 15:27:53 Page 2 of 5
4:16-bk-12201 Doc#: 242 Filed: 02/20/19 Entered: 02/20/19 15:27:53 Page 3 of 5
4:16-bk-12201 Doc#: 242 Filed: 02/20/19 Entered: 02/20/19 15:27:53 Page 4 of 5
4:16-bk-12201 Doc#: 242 Filed: 02/20/19 Entered: 02/20/19 15:27:53 Page 5 of 5
